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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, administrators of the estate of         )
 MATTHEW PHILLIPS, deceased,                       )
                                                   )
                                Plaintiffs,        )    No. 22 C 1048
                                                   )
                        v.                         )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                Defendant.         )

                                    JOINT STATUS REPORT

        Pursuant to the Court’s Minute Entry of August 25, 2022 (Dkt. 19), the parties now jointly

submit this status report:

  I.    Status of Discovery

        Since the telephone status hearing held on August 25, 2022, the parties exchanged Fed. R.

Civ. P. 26(a)(1) disclosures, the Court granted the parties’ agreed motion for a protective order

(Dkt. 20, 21), the United States produced to Plaintiffs video footage of the subject incident, and

the parties and their counsel had a meeting to discuss discovery generally. The parties have been

working cooperatively and agree the next step in this litigation will be to issue written discovery.

There are currently no discovery disputes. Given the parallel criminal case, which is not yet set for

trial, it is unclear at the moment whether the parties in this civil case will be able to complete fact

discovery by the June 19, 2023 deadline, but the parties will endeavor to complete as much

discovery as is practicable by then without interfering with the criminal case.
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 II.       Settlement

           At this time, the parties believe any settlement discussions would be premature and

therefore do not presently request a referral to the magistrate judge for a settlement conference.

III.       Status Hearing

           Finally, the parties do not require a telephonic status hearing at this time but may request

one as discovery progresses and the status of the criminal case, including the trial date, becomes

clearer.

Respectfully submitted,

 /s/ Jeremy A. Tor                                             JOHN R. LAUSCH, Jr.
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 NICHOLAS A. DICELLO (Admitted Pro Hac Vice)
 MICHAEL P. LEWIS (Admitted Pro Hac Vice)                      By: /s Kathleen M. Przywara
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 28th day of October 2022, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served upon

counsel of record through the Court’s CM/ECF Systems.


                                         /s/ Jeremy A. Tor
                                         JEREMY A. TOR (Admitted Pro Hac Vice)
                                         NICHOLAS A. DICELLO (Admitted Pro Hac Vice)
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